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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-01877-JRG-RSP
                                    §
vs.                                 §               LEAD CASE
                                    §
AMERICAN HONDA MOTOR CO., INC. §
and HONDA OF AMERICA MFG., INC. §
                                    §
      Defendants.                   §
____________________________________§
                                    §
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-01574-JRG-RSP
                                    §
vs.                                 §               CONSOLIDATED CASE
                                    §
NEXIA INTELLIGENCE, LLC             §
                                    §
      Defendant.                    §
____________________________________§

                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this day, the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s motion to dismiss without prejudice, in the lawsuit between Plaintiff Rothschild Connected

Devices Innovations, LLC (“RCDI”) and Defendant Nexia Intelligence, LLC. Having considered

the Motion and the pleadings in this case, the Court is of the opinion that the Motion should be,

and is hereby GRANTED.

       Therefore, IT IS ORDERED that all claims asserted by RCDI against Nexia Intelligence,

Inc. are hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its own costs,

attorneys’ fees and other litigation expenses.
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        SIGNED this 3rd day of January, 2012.
        SIGNED this 22nd day of June, 2016.




                                                ____________________________________
                                                ROY S. PAYNE
                                                UNITED STATES MAGISTRATE JUDGE
